
PER CURIAM.
This is an appeal from an order of judgment of conviction and sentence entered by the Circuit Court for Seminole County, Florida. The public defender has filed an Anders1 motion and brief, requesting leave to withdraw as counsel for appellant and representing to this court that no reversible error appears.
On May 7,1980, this court gave appellant thirty (30) days within which to file a brief in his own behalf. No such brief has been filed. The court has reviewed the brief and the record herein and no reversible error appears. The motion of the public defender to withdraw is hereby granted, and the order granting probation is hereby affirmed.
AFFIRMED.
COBB, SHARP and COWART, JJ., concur.

. Anders v. California, 386 U.S. 738, 87 S.Ct. 1396, 18 L.Ed.2d 493 (1967).

